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                        UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF KANSAS

FLOYD S. BLEDSOE,

                           Plaintiff,

v.                                                      Case No. 16-2296-DDC-ADM

JEFFERSON COUNTY, KANSAS, et al.,

                           Defendants.

                                         ORDER

      Plaintiff Floyd S. Bledsoe brings this case for damages he suffered as a result of his

wrongful conviction (and subsequent 15-year incarceration) for sexual abuse and murder

of a child. He alleges defendants conspired and framed him for the crime, despite their

knowledge that his brother was the actual perpetrator. The case is before the court today

upon the parties’ joint submission of a proposed schedule governing remaining discovery.

      Before reaching the parties’ scheduling request, a brief summary of the case’s

procedural history is in order. Plaintiff filed this action back on May 10, 2016. (ECF 1.)

Early in the case, defendants Michael Hayes, Jim Vanderbilt, Terry Morgan, Jim Woods,

and George Johnson filed separate motions to dismiss. (ECF 76, 80, 83, 85, 86.) On

August 4, 2017, the presiding U.S. District Judge, Daniel D. Crabtree, denied the motions.

(ECF 114.) Vanderbilt appealed that decision, and the court stayed the case pending the

Tenth Circuit’s ruling. (ECF 133.) The Tenth Circuit affirmed Judge Crabtree’s order on

August 16, 2019. (ECF 139.)


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       With the court’s leave, plaintiff filed an amended complaint on September 27, 2019.

(ECF 141.) In response, defendants Randy Carreno, Jeffrey Herrig, Troy Frost, and Robert

Poppa, all of whom where officers for the Jefferson County Sheriff’s Department (the

“Jefferson County Defendants”), filed a motion to dismiss asserting, among other things,

qualified immunity from suit. (ECF 144.) On November 18, 2020, Judge Crabtree entered

an order granting the motion in part and denying it in part, and finding that the Jefferson

County Defendants are not entitled to qualified immunity.1 (ECF 158.) The Jefferson

County Defendants appealed the portion of the order denying them qualified immunity,

sending the case back to the Tenth Circuit. (ECF 168.)

       On December 21, 2020, Hayes, Vanderbilt, and the Jefferson County Defendants

moved to stay these proceedings pending a decision on the appeal. (ECF 172, 174, 175.)

Noting the age of the case and recognizing that “the potential prejudice plaintiff may suffer

from delaying this case increases as time passes,” the court granted only a limited stay.

(ECF 198.) Specifically, the court recognized that the appeal divested it of jurisdiction to

proceed on the claims against the Jefferson County Defendants, but ordered written

discovery to proceed on the claims against the non-appealing defendants “so that there will

be no further delays in setting a trial on the merits of plaintiff’s claims upon the resolution

of the interlocutory appeal.” (Id. at 2, 8.) The court directed the parties to submit, within




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         In the same order, Judge Crabtree denied a challenge by the Board of County
Commissioners of Jefferson County, Kansas, to the municipal-liability claim asserted
against it.
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14 days of the Tenth Circuit’s ruling on the appeal, a proposed schedule for completing all

other discovery. (ECF 258, at 2.)

       On November 15, 2022, the Tenth Circuit issued an opinion affirming Judge

Crabtree’s holding that the Jefferson County Defendants are not immune from suit.

Bledsoe v. Carreno, 53 F.4th 589 (10th Cir. 2022) (affirming denial of qualified immunity

on Bledsoe’s substantive constitutional claims and conspiracy and personal-participation

theories of liability, and reversing denial of qualified immunity on Bledsoe’s failure-to-

intervene theory of liability).     The parties then timely submitted, via email to the

undersigned judge’s chambers, their proposed schedule for concluding discovery. The

parties request that the court bifurcate fact and expert discovery, with fact discovery closing

on July 31, 2023, and expert discovery beginning on that date and closing on November

31, 2023. The parties state that the timing in their proposed schedule is based on the great

number of depositions they anticipate taking and on likely difficulties locating witnesses

and securing records, given that underlying events occurred more than 20 years ago.

       The court appreciates the parties’ explanation regarding the complexities of the case

and their perceived need for such a lengthy discovery period. However, the court expects

the parties to complete discovery much more expeditiously than proposed. The number of

years that have passed since the events at issue transpired supports expediting discovery,

not delaying it. Moreover, given the case’s unique procedural posture, including that the

case was filed more than six years ago and that limited discovery has been ongoing since

May 2021, it needs to move swiftly toward resolution.

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       As such, the court orders the parties, by December 15, 2022, to meet and confer,

and then to submit a proposed scheduling order (using the form available on the court’s

website) that sets an overall discovery completion date of May 31, 2023, including expert

discovery. The court will convene a scheduling conference on December 22, 2022, at

1:00 p.m. in Kansas City Courtroom 232. At the conference, the parties should be prepared

to present a detailed plan to complete discovery by the May 31 deadline, including

proposed deadlines for substantial completion of document production, a deposition

schedule that is largely complete, and a list of any other interim deadlines that would be

helpful and/or steps the court can take to help move this case to conclusion.

       IT IS SO ORDERED.

       Dated December 2, 2022, at Kansas City, Kansas.

                                                  s/ Angel D. Mitchell
                                                 Angel D. Mitchell
                                                 U.S. Magistrate Judge




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